Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 1 of 40

BENCHMARK

December 3, 2021

Kenneth Wayne Jones
County Administrator
Hinds County

Post Office Box 686
Jackson, MS 39205-0686

Re: Benchmark Invoice (40

Dear Mr. Jones:

Please find enclosed our invoice for November 2021. | have attached timesheets as well as a breakdown
by facility for your reference. Please process for payment.

If you have any questions please let me know.
Sincerely,

( ye 1; Mert.

David Marsh,
President

DEFENDANT'S ©
j EXHIBIT

1867 Crane Ridge Dr, Suite 200-A, Jackson, MS 39216 + P.O. Box 31177 Jackson, MS 39286-1177
Phone 601-362-6110 » Fax 601-362-9812 + wwy.benchmarkms.con

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Case 3:16-cv-00489-CWR-BWR Document 179-12

2G BENCHMARK
mp mst CONSTRUCTION

_ CORPORATION
1867 Crane Ridge Dr., Suite 200-A
P.O. Box 31177 Jackson, MS 39286-1777

Phone (601) 362-6110
Fax (601) 362-9812

SOLD TO: LOCATION:
Hinds County

Filed 03/01/22 Page 2 of 40

INVOICE

NO.

[2702/2021
DATE:

YOUR ORDER NO. BA

Raymond Detention Center
Work Center/Jackson D C
Henley - Young

OUR JOB NO.: CONTRAGS DATE: AUYTHQRIZED BY:
DESCRIPTION AMOUNT
INVOICE FOR NOVEMBER 2021
David Marsh $ 4,380.00
Gary Chamblee $12,848.00
Willie Edmond $10,584.00
Pat Logue $ 4,480.00
Welder Reimbursement $ 200.00
Materials $ 236.84
Timesheets Attached
TOTAL AMOUNT THIS INVOICE $32,728.84

e PLEASE PAY FROM INVOICE e NO STATEMENT RENDERED o

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 3 of 40

HINDS DETENTION FACILITIES

TIME SHEET RECAP
11/30/2022
12/2/2021 DESCRIPTION HOURS AMOUNT TOTAL
RAYMOND DETENTION CENTER
Gary Chamblee 89 $73 $ 6,497.00
Pat Logue {September} 48 $28 $ 1,344.00
Pat Logue (November) 442 $28 $ 3,136.00
Willie Edntond 180 $56 § 10,080.00
429.00 $ 21,057.00
HENLEY YOUNG
Willfe Edmond 9 $56 $ 504.00
Gary Chamblee 53 $73 $ 3,869.00
62 $ 4,373.00
WORK CENTER
Witlle Edmond 0 $56 $ :
Gary Chamblee 30 $73 $ 2,190.00
30 $ 2,190.00
JACKSOt DETENTION CENTER
Gary Chamblee 0 $73 $
Wiille Edmond 0 $56 $ :
0 $ .
MEETINGS
Gary Chamblee 4 $73 $ 292.00
David Marsh 60 $73 $ 4,380.00
60 $ 4,672.00
TOTAL § 32,292.00

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YILN39 NYOM/AH/DGY AON-Z
BILNID WYOM/AH/OGY AON-€Z
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Case 3:16-cv-00489-CWR-BWR

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HINDS DETENTION FACILITIES
TIME SHEET DAVID MARSH

11/30/20/21
DESCRIPTION HOURS

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2,00
4,00
4.00
2.00
5.00
3.00
5.00
2.00
4.00
6,00
2,00
2.00
4.00
6.00
6.00
60.00
60 TOTAL MEETING HOURS x $732 $ 4,380.00

D-000330
Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 6 of 40

. Benchmark Construction Corp.
Jackson, Mississippi

TIME CARD SHEET gp Ff
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Job Name

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 7 of 40

Benchmark Consiruction Corp.
Jackson, Mississippi

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 8 of 40

Benchmark Consiruciion Corp.
Jackson, Mississippi

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 9 of 40

anit ~~ senchmark Consiruction Corp.

Jackson, Mississippi

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 10 of 40

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~~ Benchmark Consiruction Corp.
Jackson, Mississippi

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a Jackson, Mississippi

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HINDS DETENTION FACILITIES
TIME SHEET WILLIE EDMOND
11/30/2021
DESCRIPTION HOURS

WORK ORDER REVIEW. 9,00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
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WORK ORDER REVIEW. 9.00
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TOTAL HOURS 189.00

189 TOTAL HOURS x$56= $ 10,584.00
$ 10,584.00

D-000337
Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 13 of 40

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
02:04 AM 46°F 100%. N
05:59 AM 43°F 100% N
10:09 AM 59°F 100% N
02:08 PM 73°F 46% N
06:04 PM 68°F 63% N
09:59 PM 52°F 100% N
Name CostCode Trace
Shivers Electric
Total;

Powered By NateVault

W-Speed
OMPH
OMPH
6 MPH
4MPH
OMPH
OMPH

Class

Benchmark Construction | Raymond Detentlon Center | Monday, Nov 01, 2021 | Page 1 of 1

W-Gust
OMPH
2MPH
6MPH
4 MPH
OMPH
3 MPH

Monday, Nov 04, 2021

Precip Condition
OIN Drizzle
OIN Partly cloudy
OIN Sunny
OIN Sunny
OIN Sunny
OIN Clear

Worker(s) Hours Description

2
2

8.00 Work onfire alarmin B-Pod
8,00

D-000338
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mG BENCHMARK
temp == CONSTRUCTION

CORPORATION

Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time

02:04 AM
05:58 AM
10:10 AM
02:09 PM
06:04 PM
09:59 PM

Name

Temp Hum
46°F 100%
45°F 100%
54°F 100%
68°F 52%
64°F 55%
54°F 100%

Cost Cade

Benchmark Construction

Star
Total:

Powered By NoteVault

Trade

W-Speed W-Gust

OMPH OMPH
OMPH 4MPH
7 MPH 7 MPH
6MPH 14MPH
OMPH OMPH

OMPH 10 MPH

Tuesday, Nov 02, 2021

Precip Condition
OIN Mostly clear
OIN Mostly cloudy
OIN Sunny
OIN Sunny
OIN Sunny
OIN Mostly cloudy

Class Worker(s) Hours Description

2

2
4

Delivered material and start
framing guard station in B-1 unit
Cleaned A/C units coils and
change filters in B-Pod units

8.00

8,00
16.00

Benchmark Construction | Raymond Detentlon Center | Tuesday, Nov 02, 2024 | Page 1 of 1

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[3 BENCHMARK
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eé CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
02:05 AM 52°F 100% N
06:09 AM 50 °F 100% N
10:07 AM 54 °F 93% N
02:09 PM 55 °F 81% N
06:04 PM 48°F 100% N
09:59 PM 46°F 100% N

05:34 PM Wille Edmond
(Lat/Long: 32.323278,-90,872401]

Benchmark Const building guard station In B-1 unit

Powered By NoteVault

W-Speed
3MPH
OMPH
7 MPH
3MPH
4 MPH
3MPH

Wednesday, Nov 03, 2021
W-Gust Precip Condition
9MPH OIN Cloudy
4 MPH OIN Light rain
14MPH OIN Mostly cloudy
6MPH OIN Cloudy

4MPH 0.05 IN Light rain
6MPH 0.02 IN Cloudy

Benchmark Construction | Raymond Detention Center | Wednesday, Nov 03, 2021 | Page 1 of 2

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Powered By NoteVaull Benchmark Construction | Raymond Detention Center | Wednesday, Nov 03, 2021 | Page 2 of 2

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CONSTRUCTION
GE contortion

[3c BENCHMARK

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum = W-Dir
02:04 AM 45°F 79% N
06:09 AM 47°F 86% N
10:07 AM 51°F 82% NE
02:09 PM 54°F 80%  NNE
05:59 PM 53°F 82% NNE
09:58 PM 52°F 86% N

07:10 PM Wille Edmond
(Lat/Long: 32,.323093,-90,872205]

W-Speedl
3 MPH
OMPH
7 MPH
4MPH
7 MPH
OMPH

W-Gust
3MPH
3MPH
7 MPH
5 MPH
7 MPH
3 MPH

Friday, Nov 05, 2021

Precip Condition
OIN Mostly cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy

Shivers Electric and M&R Alarm tied in newly installed rooftop units (3) by JL Roberts to existing fire alarm

Powered By NoteVault

Benchmark Construction | Henley-Young Juvenile Justice | Friday, Nov 05, 2021 | Page Lof 2

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07:15 PM Wille Edmond
[Lat/Long: 32,.322870,-90,872744)

Shivers Electric trace problem with overhead doors and repaired it

Employee Signature:

Powered By NoteVault Benchmark Construction | Henley-Young Juvenile Justice | Friday, Nov 05, 2021 | Page 2 of 2

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 37 °F 100% N
06:09 AM 34 °F 100% N
10:09 AM 63°F 100% N
02:09 PM 75°F 35% N
05:58 PM 58°F 100% N
09:58 PM 45 °F 100% N
Name CostCode ‘Trade

Benchmark Construction

Star
Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
OMPH
OMPH
OMPH
OMPH

Class

W-Gust
1MPH
1MPH
2MPH
1 MPH
1MPH
1MPH

Monday, Nov 08, 2021

Precip Condition
OIN Mostly clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Mostly cloudy
OIN Partly cloudy

Worker(s) Hours Description

Removed portion of table in B-
Pod Visitor and installed it in
inmate side of visitation,repaired
damage ceilings

Cleaned A/C units coils and
change filters in B-Pod units

8,00

Benchmark Construction | Raymond Detention Center | Monday, Nov 08, 2021 | Page 1 of 1

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Imp (@=I CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
02:04 AM 63°F 100% SSE
06:09 AM 64°F 100% Ss
10:09 AM 63°F 100% SW
02:09 PM 66°F 100% N
05:58 PM 59 °F 100% N
10:05 PM AB °F 100% N

05:28 PM Wille Edmond
(Lat/Long: 32.323246,-90,872498]

W-Speed W-Gust
7 MPH 14 MPH
8 MPH 11MPH
4 MPH 6MPH
6MPH 6MPH
OMPH 1 MPH
O MPH 2MPH

Installed door and hardware,countertop, and framed guard station in B-podl

Powered By NoteVault

Benchmark Construction | Raymond Detention Center | Thursday, Nov 11,2021 | Page 1of 5

Thursday, Nov 11, 2021

Precip Condition
OIN Cloudy
OIN Cloudy

0.11 IN Cloudy
OIN Cloudy
OIN Mostly cloudy
OIN Fog

D-000345
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Powered By NoteVault Benchmark Constructlon | Raymond Detention Center | Thursday, Nov 11, 2021| Page 20f 5

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 22 of 40

06:11 PM Wille Edmond
(Lat/Long: 32.323299,-90,872518)
Star Services clean cooling towers

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Nov 11,2021 | Page 3 of 5

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07:07 PM Wille Edmond
(Lat/Long: 32.323220,-90,872462]

Shivers Electric installed conduit and pull fire alarm wires in B-Pod unit

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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Nov 11,2021 | Page 5 of 5

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m= GS BENCHMARK
Sc CONSTRUCTION
CORPORATION
Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
02:00 AM 41°F 100% N
06:09 AM 37 °F 100% N
09:59 AM 63°F 51% SE
09:59 AM 63°F 51% SE
06:05 PM 68 °F 82% s
10:05 PM 63°F 100%

Name CostCode Trade

Benchmark Construction

Guaranteed Roofing

Shivers Electric
Star

Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
6MPH
6MPH
4 MPH
4MPH

Class

Monday, Nov 15, 2021

W-Gust Precip Condition

OMPH OIN Clear
1MPH OIN Cloudy
12 MPH OIN Sunny
12 MPH OIN Sunny
6MPH OIN Cloudy
5 MPH OIN Mostly cloudy

Worker(s) Hours

3 8.00

2 8.00

2 8.00
2 8.00

9 32.00

Description

Built guard station in B-3 and
removed cells doors in B-1
isolation

Remove old and install new
penetrations boots at
booking,kitchen and mechanical
roof area

Work on fire alarm in B-Pod
Cleaned A/C units coils,change
filters lean and service York
Chiller

Benchmark Construction | Raymond Detention Center | Monday, Nov 15, 2021 | Page 1 of 3

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 26 of 40

05:05 PM Wille Edmond
[Lat/Long: 32.323229,-90.872521]

Guarantee Roofing started removing old roof penetration boots and installed new one

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Monday, Nov 15, 2021 | Page 2 of 3

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05:10 PM Wille Edmond
(Lat/Long: 32,323254,-90,872542]

Benchmark Const working on B-3 guard station

05:16 PM Wille Edmond
(Lat/Long: 32.323317,-90.872469]

Star Services cleaning and servicing York Chiller

Powered By NoteVault Benchmark Constructlon | Raymond Detention Center | Monday, Noy 15, 2021 | Page 3 of 3

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Case 3:16-cv-00489-CWR-BWR

Gs BENCHMARK
tp @= CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:59 AM 59°F 100% S
06:05 AM 52°F 100% N
10;09 AM 70°F 100% ssw
02:05 PM 79°F 47% Ss
05:59 PM 68 °F 72% SSE
10:05 PM 61°F 87% SE
Name CostCode Trade

Benchmark Construction

Guaranteed Roofing

Star

Total:

Powered By NoteVault

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W-Speed
7 MPH
OMPH
9 MPH

10 MPH
6MPH
4MPH

Class

W-Gust
7 MPH
7 MPH
9 MPH

18 MPH
8MPH

10 MPH

Tuesday, Nov 16, 2021

Precip Condition
0.01 IN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Partly cloudy
OIN Cloudy

Worker(s) Hours Description

Built guard station in B-2 and
8.00 removed cells doors in B-1
isolation
Remove old and install new
penetrations boots at
booking,kitchen and mechanical
roof area
Cleaned A/C units coils,change
8.00 _ filters clean and service York
Chiller

8,00

Benchmark Construction | Raymond Detention Center | Tuesday, Nov 16,2021 | Page 1 of 1

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isp @=} CONSTRUCTION

CORPORATION
Daily Report Wednesday, Nov 17, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition

01:59 AM 57 °F 100% ESE 6MPH 8 MPH OIN Clear

06:08 AM 55 °F 100% ESE 4 MPH 5 MPH OIN Clear

09:58 AM 72°F 100% SSE 8 MPH 15 MPH OIN Mostly sunny

01:59 PM 80°F 54% Ss 9 MPH 413 MPH OIN Mostly cloudy

06:05 PM 73°F 83% SSE 7 MPH 9 MPH OIN Cloudy

10:05 PM 68°F 100% SSE 4 MPH 8 MPH OIN Mostly cloudy

Name CostCode Trade Class Worker(s) Hours Description

Benchmark Construction 4 8,00 ae a re ee inB-2.and B-
Total: 4 8.00

05:56 AM Wille Edmond
(Lat/Long: 32,323245,-90,872451]

Benchmark Const removed all cells doors, TV shelf and shower curtain and installed privacy doors

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Nov 17, 2021 | Page 1 of 2

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Se RRUGTON

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

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Thursday, Nov 18, 20214

Time Temp Hum W-Dir W-Speed W-Gust Precip Condition
02:04 AM 64°F 100% SSE 4MPH 4 MPH OIN Mostly cloudy
06:09 AM 57°F 100% N OMPH 6MPH OIN Partly cloudy
10:10 AM 52°F 100% N 7 MPH 12 MPH 0.04 IN Cloudy
02:09 PM 48 °F 100% N 7 MPH 16 MPH OIN Cloudy
06:04 PM 48 °F 100% N OMPH OMPH OIN Clear
09:59 PM 39°F 100% N OMPH 8 MPH OIN Mostly clear
Name CostCode Trade Class Worker(s) Hours Description
: Built guard station in B-2 and B-
Benchmark Construction 4 8.00 Pod control

Shivers Electric

Total:

08:33 PM Wille Edmond
{Lat/Long: 32.32325 1,-90,872474]

Benchmark demo old & built new guard station in B-Pod control

rites ty

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Work on fire alarm in B-Pod and
rough in outlets and data at guard
stations

Benchmark Construction | Raymond Detention Center | Thursday, Nov 18, 20214 | Page 1 of 2

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Bs maa

CORPORATION

Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum
01:59 AM 36 °F 100%
06:09 AM 32 °F 100%
10:08 AM 52°F 29%
02:09 PM 63°F 25%
05:59 PM 48 °F 70%
11:35 PM 36 °F 100%
Name Cost Code

Benchmark Construction

Guaranteed Roofing

Shivers Electric

Total:

Powered By NoteVault

Trade

W-Speed W-Gust
OMPH 4 MPH

Tuesday, Nov 23, 2021

Precip Condition
OIN Mostly clear

OMPH 3 MPH OIN Clear
6 MPH 41 MPH OIN Sunny
4 MPH 4 MPH OIN Sunny
OMPH 4 MPH OIN Partly cloudy
OMPH 4 MPH OIN Clear
Class Worker(s) Hours Description
4 8.00 Built guard station in B-4
Remove old and install new
2 8.00 penetrations boots at
. booking,kitchen and mechanical
roof area
Work on fire alarmin B-Pod and
2 8.00  roughin outlets and data at guard
stations
8 24,00

Benchmark Constructlon | Raymond Detention Center | Tuesday, Nov 23, 2021 | Page 1 of 1

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Case 3:16-cv-00489-CWR-BWR

mm Ge BENCHMARK
lam @=" CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 34 °F 100% N
06:09 AM 36 °F 100% E
10:09 AM 59°F 44% ESE
02:07 PM 70 °F 42% SSE
06:05 PM 59°F 76% ESE
09:58 PM 59°F 100% SSE
Name CostCode Trade

Guaranteed Roofing

Shivers Electric

Total:

Powered By NoteVault

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W-Speed
OMPH
4MPH
9 MPH

10 MPH
4MPH
8 MPH

Class

Benchmark Construction | Raymond Detention Center | Wednesday, Nov 24, 2021 | Page 1 of 1

W-Gust
6MPH
8 MPH
9 MPH

11 MPH
4MPH

15 MPH

Wednesday, Nov 24, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Mostly cloudy
OIN Mostly clear

Worker(s) Hours Description

Remove old and install new

penetrations boots at

booking,kitchen and mechanical

roof area

Work on fire alarm in B-Pod and

8.00  roughin outlets and data at guard
stations

8,00

D-000359
Case 3:16-cv-00489-CWR-BWR Document 179-12

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Benchmark Construction Corp.
Jackson, Mississippi
EXPENSE REPORT
\ ADDITIONAL PAY ENTRY
Employee ID > oo \ g Up
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T—TRAVEL reimb N—NONtaxable adjustment ~
J—JOS expense reimb X—erase fine
tine job cost gf state local
code job - ph-—code-t distr code code amount

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EMPLOYEES 3 ARE TO COMPLETE THE LOWER PART AND ATTACH mere 3

Employee Name: Job Number:

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EXPENSE REPORT

JOB # PH CODE Tv CESCRIPTION AMOUNT
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Roan SV ghia so fp
TOTAL: MEALS, EXPENSES, RECEIPTS, etc. oer

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Case 3:16-cv-00489-CWR-BWR Document 179-12 Filed 03/01/22 Page 37 of 40

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PEARL MS 200090
3100 HIGHUAY 80 EAST
PEARL, MS 39208
Telephone: C601} 664-0880 COREBEOGA LCATERSHOMEDEPOT. COM

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SALE SELF CHECKOUT

SALE 045242158799 M18 GRIND <A>

SKE M18 4-1/2 IN GRINDER (TOOL ONLY)

ee

57005 WARRIOR RIGHT ANGLE .CUTTI $9.99 SBTOTAL 128. 00
57005 WARRIOR RIGHT ANGLE CUTTI $9.99 TOTAL 4
63154 FULL GRAIN WORK GLOVES XL $6.99 CASH 300.00 .
61751 ANS 66013 ELECTRODE 1/16 $7.99 CHANGE DUE = 61.97
51751 AWS E6013 ELECTRODE 1/16 57.99 2907, 09/17/21 41-43
Sales Tex 7.000% $3.01 - 2907 52. 78865 09/1//2021 8809
Tata .
Total $45.96 POLICY DEFINITIONS

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$5,000 HOME DEPOT GIFT CARD
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Lisa served you today.

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Proof of Purchase Reavired for Returns/ 1
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Benchmark Construction Corp.
Jackson, Mississippi

EXPENSE REPORT

Aye! ADDITIONAL PAY ENTRY
Employee kr

LINE CODE: P—PER diem A—taxable ADJUSTMENT
T—TRAVEL reimb N-—NONtexable adjustment ~
J—JOB expense reimb A—erase line
fine job cost g/l State Iocal
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EMPLOYEES WETHi WH Sg® BEE RES AE TO ARE To COMPLETE THE LOWER PART AND ATTACH BACKUP. _
Employee Name: Job Number XS SS

pate: LOU LL, LL — TS DD LOL{ Job Namen

EXPENSE REPORT
JOB # eH CODE TY DESCRIPTION AMOUNT
0100 01 1000 m example $ 0.00
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HARBOR FREIGHT

CORA Re eo Me pane
PEARL MS 200090
3100 HIGHWAY 80 EAST
PEARL, MS 39208

#**Promot ion###
45430 4-1/2IN 40G MTL CUTOFF WH $7.19
Orisinal Price: $7.99
Coupon Discount 10.0% OFF: ($0.80)
Coupon Number: 44829453

HEREEX

45430 4-1/2IN 40G MTL CUTOFF WH $7.99
Subtotal $15.18
Sales Tax 7.000% $1.06
Total : $16.24

Additional Savings $0.30

Cash $20.00
Cash Chanse $3.76
Store: 00090 Res: 01 Tran: 725728

Date: 11/13/2021 2:42:20 PM Assoc: XXXXXX
Ticket: 01725728

Item(s) Sold: 2
Ttem(s) Returned: 0

Megan served you today.
Thank you for shoppins at
PEARL MS #00090

Proof of Purchase Required for Returns/
Exchanses Within 90 Days of Purchase.

MRXHANHRMAHANHK EA AMA KARA KAA KERRHKRERASELE RSE

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or Text TOOLS to 34648

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EXHIBIT NO. [> 2h §
WrTNESS_f
CLERK: MMERS

FEB 24 2022

UNITED STATES DISTRICT COURT

THERN DISTRICT OF MISSISSiPP|
A_ REPORTER

